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                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF CONNECTICUT


CHRISTINA ALEXANDER, et al.,

              Plaintiffs,
                                            Case No.: 3:11-cv-1703-MPS
   v.

ALEX M. AZAR II, Secretary of Health and
Human Services,

              Defendant.



                     MEMORANDUM OF LAW IN SUPPORT OF
                   DEFENDANT’S MOTION TO DISMISS THE CASE
                   FOR LACK OF SUBJECT MATTER JURISDICTION




                                                           Oral Argument Requested
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                                          INTRODUCTION

        This case must be dismissed for lack of subject matter jurisdiction because Plaintiffs’ sole

remaining cause of action—a claim that they were deprived of a protected property interest in inpatient

admission without due process—presents no Article III case or controversy for the Court to

adjudicate. Plaintiffs have no live challenge to the Secretary’s distinction between observation and

inpatient services for the purposes of Medicare Part A coverage. And there is no live claim that the

Secretary’s failure to grant Part A coverage for Plaintiffs’ observation stays, or to provide Part A

coverage for Plaintiffs’ skilled nursing facility stays, was unlawful. In their surviving Fifth Amendment

claim, Plaintiffs challenge the Secretary’s purported “policy of not providing Medicare beneficiaries

with the right to administrative review, including expedited review, of their placement on observation

status,” ECF No. 1, ¶ 105, and seek an injunction ordering Defendant “to establish a procedure for

administrative review of a decision to place a Medicare beneficiary on observation status, including

the right to expedited review,” id. at 29. For constitutional standing, Plaintiffs therefore must show

that the injuries they have allegedly suffered as a result of being designated as outpatients rather than

admitted as inpatients are fairly traceable to the Secretary’s alleged failure to provide a “right to

administrative review . . . of their placement on observation status,” id. ¶ 105, and that it is likely, as

opposed to merely speculative, that these injuries would be redressed by the injunctive relief sought.

        The Second Circuit’s and this Court’s narrowing of the case precludes Plaintiffs from

demonstrating that they have standing to bring their claim for injunctive relief, for several reasons.

First, Plaintiffs cannot demonstrate that their alleged injuries are fairly traceable to the failure of the

Secretary to provide a “right to administrative review . . . of their placement on observation status,”

as opposed to, for instance, the particular procedures that were or were not employed by the hospitals

that denied them inpatient admission. Second, Plaintiffs cannot demonstrate that establishment of an

HHS “procedure for administrative review of a decision to place a Medicare beneficiary on

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observation status” would likely redress their alleged injuries. This is because the Department of

Health and Human Services (“HHS”) cannot “formally admit[ ]” a beneficiary to the hospital, Barrows

v. Burwell, 777 F.3d 106, 109 (2d Cir. 2015), let alone retroactively reverse “a hospital’s decision whether

to admit a Medicare beneficiary as an ‘inpatient,’” id. at 114. In essence, there is a fundamental

mismatch between Plaintiffs’ remaining cause of action and the defendant they have chosen to sue.

Third, the original and First Intervenor Plaintiffs lack standing for an additional reason: Those

Plaintiffs have not alleged—let alone adduced any evidence—that, had the Secretary provided a “right

to administrative review,” they would have used such a process to argue that they met or passed the

commercial screening tool criteria that they claim form the basis for their property interest. Because

Plaintiffs would not have invoked their purported claim of entitlement in such an administrative

review process, and have adduced no evidence that they would do so were they afforded the additional

process they seek, there is no causal link between their claimed injuries and the challenged conduct of

the Secretary. Fourth, deceased Medicare beneficiaries have no standing because they face no risk of

being hospitalized again as outpatients receiving observation services, and therefore have no

cognizable injury for purposes of injunctive relief. Although the Court earlier concluded that deceased

Plaintiffs’ estate representatives had standing, the premises of that conclusion have been negated, as

set forth more fully below.

        Moreover, even if Plaintiffs could somehow have demonstrated standing at the outset of the

case, all of their claims are now moot, for one or more reasons. First, the undisputed facts establish

that there is no current protected property interest in inpatient admission, and thus no basis to find

any current or imminent future due process violation, as set forth in Defendant’s supplemental

memorandum in support of his second motion for summary judgment. Therefore, the original and

First Intervenor Plaintiffs’ claims are now moot because they rest entirely on alleged past violations

of the law. Second, for the same reasons that the Plaintiffs who were deceased at the commencement

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of the litigation lack standing, the claims of Plaintiffs who have passed away since commencing the

litigation are now moot. Third, several of the named Plaintiffs,1 including Ms. Goodman, have

succeeded in receiving refunds for the amounts they expended for services that were initially not

covered by Medicare. The Court previously concluded that the claims of such Plaintiffs were saved by

the exception to the mootness doctrine for “inherently transitory” claims.” Alexander v. Cochran, No.

11-cv-1703, 2017 WL 522944, at *5 (D. Conn. Feb. 8, 2017). However, because the undisputed facts

show that there is currently no protected property interest in inpatient admission, there is no “constant

class of persons suffering the deprivation complained of in the complaint,” id., and the “inherently

transitory” exception can no longer apply.

        Accordingly, the Court should dismiss the case for lack of subject matter jurisdiction.

                                          BACKGROUND

        The relevant procedural and factual background and the applicable statutory and regulatory

framework are largely set forth in Defendant’s memoranda of law in support of his first Motion for

Summary Judgment, see ECF Nos. 160-1, 178; his Second Motion for Summary Judgment, see ECF

Nos. 319-1, 353; and his Motion for Class Decertification, see ECF Nos. 323-1, 348; and his earlier

Supplemental Brief, see ECF No. 194 at 3 n.2, 6 n.5, which are incorporated here by reference.

Defendant therefore highlights just a few points.

        After the Court initially dismissed this case in full, Plaintiffs abandoned most of their claims,

appealing only the dismissal of claims six and seven of the Complaint, which asserted violations of the

Medicare Act and the Fifth Amendment’s Due Process Clause. See Barrows, 777 F.3d at 111. In its

decision, the Second Circuit affirmed the dismissal of Plaintiffs’ Medicare Act claims, holding, among



1
 Unless otherwise indicated, as used in this memorandum of law, “the named Plaintiffs” refers to the
Medicare beneficiaries who were the original Plaintiffs, First Intervenor Plaintiffs, and Second
Intervenor Plaintiff, or whose interests were represented by such Plaintiffs, rather than the estate
representatives who have been substituted as Plaintiffs.
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other things, that “nothing in the statute entitles plaintiffs to the process changes they seek—i.e.,

expedited notice of their placement into observation status, and an expedited hearing to challenge this

placement.” Id. at 112. The Second Circuit explained that, under governing precedent, a Medicare

beneficiary was not an “inpatient” for purposes of Part A coverage “unless he or she has been formally

admitted to a hospital.” Id. at 108-09 (quoting Estate of Landers v. Leavitt, 545 F.3d 98, 111 (2d Cir. 2008)).

The Second Circuit vacated the dismissal of Plaintiffs’ due process claim on the basis that Plaintiffs

had “arguably” alleged facts sufficient to show a protected property interest in such formal inpatient

admission. Id. at 115. The parties had not briefed, and the Second Circuit did not address, whether

Plaintiffs had standing to bring a due process claim against the Secretary premised on a protected

property interest in inpatient admission.

        On remand, after the Court denied Defendant’s original motion for summary judgment, see

ECF No. 196, it certified this case as a class action under Fed. R. Civ. P. 23(b)(2). See ECF Nos. 242,

250. As the Court noted in its decision, “Rule 23(b)(2) applies only when a single injunction or

declaratory judgment would provide relief to each member of the class.” Alexander v. Price, 275 F.

Supp. 3d 313, 324 (D. Conn. 2017) (quoting Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 360 (2011)).

The Court found this requirement was met because, in their surviving claim, Plaintiffs sought “a single

injunction ‘ordering defendant to establish a procedure for administrative review of a decision to place

a Medicare beneficiary on observation status, including the right to expedited review.’” Id. (citing ECF

No. 1 at 28-29).

         All the named Plaintiffs are now deceased. See ECF No. 1 ¶¶ 61, 66, 72, 83, 89; ECF No. 80;

ECF No. 84; ECF No. 140; ECF No. 192; ECF No. 195; ECF No. 224; ECF No. 227; ECF No. 298.

                                      STANDARD OF REVIEW

        “If the court determines at any time that it lacks subject-matter jurisdiction, the court must

dismiss the action.” Fed. R. Civ. P. 12(h)(3). “Except for the pre-answer limitation on Rule 12(b)(1)

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motions, the distinction between a Rule 12(b)(1) motion and a Rule 12(h)(3) motion is largely

academic, and the same standards are applicable to both types of motions.” Greystone Bank v. Tavarez,

No. 09-CV-5192, 2010 WL 3325203, at *1 (E.D.N.Y. Aug. 19, 2010). In resolving a motion to dismiss

the case for lack of subject matter jurisdiction, “the district court must take all uncontroverted facts

in the complaint . . . as true, and draw all reasonable inferences in favor of the party asserting

jurisdiction.” Fountain v. Karim, 838 F.3d 129, 134 (2d Cir. 2016) (quoting Tandon v. Captain’s Cove Marina

of Bridgeport, Inc., 752 F.3d 239, 243 (2d Cir. 2014)). However, where jurisdictional facts are in dispute,

the district court may refer to evidence outside the pleadings. See id. “A plaintiff asserting subject

matter jurisdiction has the burden of proving by a preponderance of the evidence that it exists.” Id.

(quoting Makarova v. United States, 201 F.3d 110, 113 (2d Cir. 2000)).

                                              ARGUMENT

        I.      Plaintiffs Lack Standing.

        Regardless of whether the Two-Midnight Rule sets forth fixed and objective criteria for

inpatient admission, or whether any named Plaintiff has or had a protected property interest in

inpatient admission, the named Plaintiffs lack standing, and this case must therefore be dismissed for

lack of subject matter jurisdiction.

        A. Legal Standard

        Federal courts are empowered by the Constitution’s Article III to hear an enumerated list of

“Cases” and “Controversies.” See U.S. Const. art. III, § 2. Standing is “an essential and unchanging

part of the case-or-controversy requirement of Article III.” Lujan v. Defenders of Wildlife, 504 U.S. 555,

560 (1992). Accordingly, if a court finds that a plaintiff lacks standing, it must dismiss the plaintiff’s

claims for lack of subject matter jurisdiction. See, e.g., Cohen v. Rosicki, Rosicki & Assocs., P.C., 897 F.3d

75, 80 (2d Cir. 2018) (noting that “standing is a ‘threshold matter’ in determining whether the district

court had jurisdiction to hear and decide this case”).

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        Plaintiffs bear the burden of establishing all three elements of Article III standing. See Lujan,

504 U.S. at 560-61. First, Plaintiffs “must have suffered an ‘injury in fact’—an invasion of a legally

protected interest which is (a) concrete and particularized, and (b) ‘actual or imminent, not conjectural

or hypothetical.’” Id. at 560. Although a plaintiff may bring suit to vindicate procedural rights, the

alleged deprivation of a procedural right is not sufficient by itself to satisfy Article III’s injury-in-fact

requirement. See id. at 572-73 & nn.7-8; Summers v. Earth Island Inst., 555 U.S. 488, 496 (2009)

(explaining that the “deprivation of a procedural right without some concrete interest that is affected

by the deprivation—a procedural right in vacuo—is insufficient to create Article III standing”). Second,

Plaintiffs must show that their injury is “fairly traceable to the challenged action of the defendant,”

Lujan, 555 U.S. at 560, which in this case is the Secretary’s purported failure to provide Medicare

beneficiaries with a “right to administrative review, including expedited review, of their placement on

observation status.” ECF No. 1 ¶ 105. Third, Plaintiffs must demonstrate that it is “likely, as opposed

to merely speculative,” that their injury will be redressed by a favorable decision. Id. at 561. “[S]tanding

is not dispensed in gross.” Town of Chester, N.Y. v. Laroe Estates, Inc., 137 S. Ct. 1645, 1650 (2017)

(citation omitted). Thus, a plaintiff who has standing for a claim for monetary damages may

nonetheless lack standing to seek injunctive relief. See id.

        B. Plaintiffs Lack Standing Because There Is No Causal Connection Between Their
           Alleged Injuries and the Lack of an HHS Administrative Review Process for
           Inpatient Admission Denials.

        Plaintiffs lack constitutional standing for their sole remaining claim, which seeks injunctive

relief. Per the Second Circuit’s decision, the sole remaining cause of action in this case is a claim that

Plaintiffs were deprived of a protected property interest in inpatient admission without due process.

See Barrows, 777 F.3d at 108. In this cause of action, Plaintiffs allege that, as a result of not being

formally admitted as inpatients, they incurred financial costs that they would have avoided “had they

formally been admitted as ‘inpatients’ to their hospitals.” Id. at 107. As observed throughout the

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Second Circuit opinion, the decisions not to admit Plaintiffs as inpatients were made by their

respective hospitals. See, e.g., id. at 110 (noting that Plaintiff Sarah Mulcahy alleged that, “because the

hospital never formally admitted her, she bore the entire cost of her subsequent [skilled nursing facility

(‘SNF’)] care” (emphasis added)). Nonetheless, Plaintiffs have not sued their hospitals for depriving

them of inpatient admission without due process. Rather, they have sued the Secretary, alleging that

the Secretary’s failure to provide a procedure for beneficiaries to challenge a decision to place them

on observation status violates the Fifth Amendment’s Due Process Clause. Plaintiffs seek an

injunction ordering the Secretary “to establish a procedure for administrative review of a decision to

place a Medicare beneficiary on observation status, including the right to expedited review.” ECF No.

1 at 29; see Alexander v. Price, 275 F. Supp. 3d at 327.2

        A fundamental problem with this surviving claim, even assuming the existence of a protected

property interest, is that the alleged injuries Plaintiffs suffered are neither fairly traceable to the absence

of an HHS review procedure nor likely to be redressed by the injunctive relief Plaintiffs seek.




2
  In response to a contention interrogatory asking what such a procedure would entail, Plaintiffs
described a process that would not even directly address the “decision to place a Medicare beneficiary
on observation status.” ECF No. 1 at 29. Rather, Plaintiffs contended that the proposed non-
expedited review would address the Medicare contractor’s “initial determination that [the
beneficiary’s] hospital services were ‘observation services’ covered by or subject to coverage by Part
B.” ECF No. 319-4 at 9. Such an inquiry skirts the pertinent question, which is not whether the
beneficiary in fact received observation services, nor whether observation services are properly subject
to coverage under Medicare Part B, see Barrows, 777 F.3d at 108-09, 111 n.27, but rather whether the
beneficiary was erroneously denied inpatient admission by his or her hospital. See id. at 115, 116
(noting that the alleged protected property interest is Plaintiffs’ interest “in being admitted to their
hospitals as inpatients”). Plaintiffs’ description of the “expedited” process they seek similarly evades
the relevant inquiry: Plaintiffs describe an “expedited determination of whether their services should
be covered as inpatient by Part A or as observation services by Part B.” ECF No. 319-4 at 11. But as
the Second Circuit clearly held, Medicare permissibly requires beneficiaries to be formally admitted as
inpatients in order to qualify as “inpatients” for purposes of Medicare Part A payment, see Barrows, 777
F.3d at 109, and the only potential protected property interest in this case is an interest in formal
inpatient admission itself, see id. at 114-16. While it may not be the action Plaintiffs wanted to litigate,
this is no longer a case about Medicare coverage determinations.
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            1. Plaintiffs’ Alleged Injuries Are Not Fairly Traceable to the Challenged Conduct.

        First, Plaintiffs cannot establish that their alleged injuries are fairly traceable to the challenged

action. As Plaintiffs have repeatedly insisted, the challenged conduct of Defendant in this case is the

Secretary’s failure to provide a process whereby Plaintiffs could seek administrative review by HHS

of their designations as outpatients receiving observation services. See, e.g., Pls.’ Opp. to Def.’s Mot.

To Decertify Class, ECF No. 338, at 4. Thus, Plaintiffs must demonstrate that their injuries are “fairly

traceable” to this challenged conduct, and “not the result of the independent action of some third

party not before the court.” Bennett v. Spear, 520 U.S. 154, 167 (1997). The challenged conduct of

Defendant need not be the last step in the chain of causation. See id. at 168-69. However, it must form

some part of the causal chain. See id.; see, e.g., Goldberg v. UBS AG, 660 F. Supp. 2d 410, 417 (E.D.N.Y.

2009) (“Where intervening acts of third-parties exist, plaintiffs must at least allege the existence of

each of the intermediate causal links in the chain from Defendant’s action through to the ultimate

harm.”).

        In this case, Plaintiffs’ alleged injuries purportedly resulted from the fact that they were not

formally admitted to their hospitals as inpatients, and thus did not qualify for Medicare Part A coverage

for their hospital or subsequent skilled nursing facility (“SNF”) stays. See Barrows, 777 F.3d at 107, 110.

Their injuries were not caused—directly or indirectly—by the absence of an HHS procedure for

administrative review of the decisions to designate them as outpatients. Indeed, even if the Court

assumes that Plaintiffs did not have an adequate opportunity to demonstrate their entitlement to

inpatient admission, and that they were thereby injured, there is no basis to conclude that this alleged

injury was due to the absence of a procedure for “administrative review” by HHS, rather than the

hospitals’ own failures to provide adequate procedural protections in connection with their inpatient

admission decisions. Cf. Simon v. E. Kentucky Welfare Rights Org., 426 U.S. 26, 41 (1976) (where

respondents challenged an IRS Revenue Ruling that purportedly encouraged hospitals to deny services

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to indigent individuals, holding that “injury at the hands of a hospital [was] insufficient by itself to

establish a case or controversy in the context of [the] suit, for no hospital [was] a defendant”).

            2. Plaintiffs’ Alleged Injuries Would Not Likely Be Redressed by a Favorable
               Decision in this Case.

        Second, and relatedly, Plaintiffs cannot show that their alleged injuries will likely be redressed

by a favorable decision because the administrative review process they demand could not prevent the

type of alleged deprivations at issue,3 nor could it nullify deprivations of inpatient admission that have

already occurred. The relevant hospitals are not parties to this case, and the Court therefore can afford

relief only against the Secretary. See Lujan, 504 U.S. at 568; Simon, 426 U.S. at 41. But the Secretary

does not and cannot make inpatient admission decisions. Indeed, consistent with its longstanding

guidance, HHS’s current Medicare Part A regulations specify that a beneficiary may be characterized

as an “inpatient” for purposes of Part A payment only if the beneficiary is formally admitted to the hospital

pursuant to an order entered by a physician or otherwise qualified practitioner. See 42 C.F.R. § 412.3(a).

“The order must be furnished by a qualified and licensed practitioner who has admitting privileges at

the hospital as permitted by State law, and who is knowledgeable about the patient’s hospital course,

medical plan of care, and current condition.” Id. § 412.3(b). In addition, the order “must be furnished

at or before the time of the inpatient admission.” Id. § 412.3(c). Further, the Medicare statute prohibits

federal government interference in the practice of medicine or hospital operations, stating:

            Nothing in this subchapter shall be construed to authorize any Federal officer
            or employee to exercise any supervision or control over the practice of
            medicine or the manner in which medical services are provided, or over the
            selection, tenure, or compensation of any officer or employee of any


3
 Defendant assumes, for purposes of this motion only, that Plaintiffs who were still living at the outset
of the case might have been able to demonstrate that they were likely to be hospitalized for observation
again at some point in the future, and therefore could potentially benefit from some process that
would reduce the risk of erroneous denial of inpatient admission. As set forth in Defendant’s prior
supplemental brief, however, and not controverted in the Court’s subsequent ruling, see ECF No. 196,
those Plaintiffs in fact did not even allege that they would likely again be hospitalized and wrongly
designated as outpatients receiving observation services. See ECF No. 194 at 7.
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            institution, agency, or person providing health services; or to exercise any
            supervision or control over the administration or operation of any such
            institution, agency, or person.

42 U.S.C. § 1395. Thus, under governing law and regulations, HHS itself cannot admit a beneficiary

to a hospital as an inpatient, nor retroactively transform an outpatient stay into an inpatient stay for

purposes of Medicare Part A payment. Accordingly, the process sought by Plaintiffs would not and

could not reverse an “erroneous” decision by a hospital not to admit a beneficiary as an inpatient, let

alone redress any financial injuries Plaintiffs allegedly suffered as a result of such decisions.

        Indeed, even if a Plaintiff sought only a process that would allow her to seek admission as an

inpatient going forward when already hospitalized as an outpatient receiving observation services, she

could not satisfy the redressability requirement for Article III standing because only a doctor with

admitting privileges at her hospital could order such an admission. See 42 C.F.R. § 412.3(b); cf. Lujan,

504 U.S. at 568 (“Since the agencies funding the projects were not parties to the case, the District

Court could accord relief only against the Secretary: He could be ordered to revise his regulation to

require consultation for foreign projects. But this would not remedy respondents’ alleged injury unless

the funding agencies were bound by the Secretary’s regulation, which is very much an open

question.”); Doe v. Virginia Dep’t of State Police, 713 F.3d 745, 755 (4th Cir. 2013) (“The traceability and

redressability prongs become problematic when third persons not party to the litigation must act in

order for an injury to arise or be cured.”).

            3. The Original and First Intervenor Plaintiffs Do Not Allege That They Would
               Show a Legitimate Claim of Entitlement to Inpatient Admission at a Hearing.

        Third, the original and First Intervenor Plaintiffs also lack standing for an additional reason:

Even if an HHS administrative review process had the potential to redress a deprivation of formal

inpatient admission, Plaintiffs have not alleged—let alone adduced any evidence—that they would

have utilized that process to argue that they were eligible for inpatient admission based on the allegedly

applicable commercial screening tool criteria.
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        The purpose of a hearing under the Due Process Clause is to give the claimant an opportunity

to demonstrate a legitimate claim of entitlement to a protected liberty or property interest. See, e.g.,

Kapps v. Wing, 404 F.3d 105, 112 (2d Cir. 2005) (holding that “the plaintiffs possess a sufficient property

interest in the receipt of HEAP benefits to warrant due process protection in their demonstration of

eligibility” (emphasis added)); id. at 116 (explaining that “the aim of proper procedures is precisely to

allow the state to decide properly whether the applicant in fact has a legitimate claim of entitlement”).

In Codd v. Velger, 429 U.S. 624 (1977) (per curiam), the Supreme Court explained this principle as it

applied to a claim that a discharged police officer was entitled to a due process hearing relating to the

inclusion in his personnel file of arguably stigmatizing information about a suicide attempt. The Court

noted that, in that context, “[a]ssuming all of the other elements necessary to make out a claim of

stigmatization . . ., the remedy mandated by the Due Process Clause of the Fourteenth Amendment

is ‘an opportunity to refute the charge.’” Codd, 429 U.S. at 627. If the former employee “[did] not

challenge the substantial truth of the material in question, no hearing would afford a promise of

achieving that result for him,” and it thus would serve no “useful purpose.” Id. at 627-28. Because of

the “nature of the interest sought to be protected,” the employee’s due process claim was doomed by

his failure to “affirmatively assert[ ] that the report of the apparent suicide attempt was substantially

false.” Id. at 627; see also Michael H. v. Gerald D., 491 U.S. 110, 127 n.5 (1989) (“We cannot grasp the

concept of a ‘right to a hearing’ on the part of a person who claims no substantive entitlement that

the hearing will assertedly vindicate.”). Applying the principle set forth in Cobb to a due process claim

based on an issuance of a parking ticket, the Tenth Circuit concluded that the plaintiff lacked standing

because “[s]he [did] not assert any legal basis for challenging the ticket.” Rector v. City & Cty. of Denver,

348 F.3d 935, 944 (10th Cir. 2003). Because there “was nothing for a hearing to decide,” any

“deficiencies in notice thus caused no injury.” Id. at 945.




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        Here, the original and First Intervenor Plaintiffs similarly cannot demonstrate standing

because, even if HHS had the power to admit beneficiaries as inpatients, the Plaintiffs’ purported

injuries are not fairly traceable to the absence of an HHS administrative review process to challenge

the decisions to designate them as outpatients receiving observation services. The relevant interest is

a purported protected property interest in formal inpatient admission, see Barrows, 777 F.3d at 108,

which, for the Plaintiffs whose relevant hospital stays concluded prior to October 1, 2013,4 is allegedly

based on fixed and objective criteria for inpatient admission in the form of commercial screening

tools. See 11/16/18 Hr’g Tr. 66:11-18, 67:2-14, 69:12-20; ECF No. 360 at 6 n.2. Nowhere in the

original or First Intervenor Complaint, however, do Plaintiffs allege that they in fact met the

purportedly applicable commercial screening tool criteria for inpatient admission, or that, were they

afforded the hearings they seek, they would have challenged their hospitals’ conclusions that they did

not meet the criteria. See generally ECF Nos. 1, 53.

        Indeed, even after discovery, the original and First Intervenor Plaintiffs do not contend that,

had HHS administrative review been available, they would have argued that they met the purportedly

applicable commercial screening tool criteria for inpatient admission. For example, in opposition to

Defendant’s first motion for summary judgment, Ms. Savage argued not that a hearing would give her

the chance to show she met commercial screening tool criteria, but rather that she would have the

opportunity to demonstrate “that her physician intended for her to be inpatient and that it was a

reasonable expectation based on the medical record.” ECF No. 165 at 25. Plaintiffs have admitted

that Ms. Savage “did not pass InterQual’s criteria” for inpatient admission. ECF No. 164 at 33. They

have also asserted that Ms. Savage “should have been given an opportunity to ensure that InterQual




4
 All of the relevant hospital stays of the original and First Intervenor Plaintiffs concluded prior to
2013. See ECF No. 1 ¶¶ 11-17; ECF No. 53 ¶¶ 12-18.
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had been applied correctly,” id., but have not argued that Ms. Savage would have maintained that the

InterQual criteria were applied incorrectly, let alone identified any ground for such a claim.

        Plaintiffs’ argument for why Mr. Dziadzia would benefit from an administrative review process

likewise made no reference to screening tool criteria. See ECF No. 165 at 25. Instead, they argued that,

“if his procedure had been on CMS’s inpatient only list, and the hospital mistakenly categorized him

as observation status, he should have had the opportunity to challenge that classification.” Id. Mr.

Dziadzia did not argue that he in fact underwent a procedure on that list. Further, the “inpatient only

list” refers to one of the exceptions to the two-midnight benchmark in 42 C.F.R. § 412.3(d), a

regulation that was not yet promulgated at the time of Mr. Dziadzia’s hospitalization. See ECF No. 53

¶ 12; 78 Fed. Reg. 50496, 50965 (Aug. 19, 2013). Indeed, the First Intervenor Complaint makes no

mention of the “inpatient only list,” nor suggests that Mr. Dziadzia was entitled to inpatient admission

based on undergoing an “inpatient only” procedure. See generally ECF No. 53.5 In any case, Plaintiffs

have apparently abandoned any assertion that the named Plaintiffs have or had a protected property

interest in inpatient admission based on the “inpatient only list.” See 11/26/18 Hr’g Tr. at 66:1-18.

        Similarly, in opposition to Defendant’s pending summary judgment motion, Ms. Leyanna only

suggests that, during a review by the Secretary, “[she] could have been provided”—through some

unexplained mechanism—“with information about the InterQual criteria the hospital found she did

not meet, so that any possible errors could be corrected.” ECF No. 332 at 24-25. But, like Ms. Savage

and Mr. Dziadzia, Ms. Leyanna does not assert that the hospital actually made errors in its application

of particular InterQual criteria, let alone that she would have claimed an entitlement to inpatient

admission based on satisfaction of those criteria.6 See id.


5
 The original complaint and Second Intervenor Complaint likewise do not mention the “inpatient
only list.” See generally ECF Nos. 1, 123.
6
  Plaintiffs have not described what sort of showings any original or First Intervenor Plaintiffs other
than Ms. Savage, Ms. Leyanna, and Mr. Dziadzia purportedly would make, or would have made, at
                                                    13
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        Because the original and First Intervenor Plaintiffs have not alleged, let alone adduced

evidence, that they would or could have used a procedure “for administrative review” to show that

they met or passed the purportedly applicable commercial screening tool criteria for inpatient

admission, any injury they incurred is not fairly traceable to the absence of an administrative review

process sponsored by the Secretary, let alone likely to be redressed by the implementation of such a

process. Cf. Barrows, 777 F.3d at 115 (taking “no position regarding what form of notice or

administrative review, expedited or otherwise, would be required if Medicare beneficiaries who satisfy

the ‘fixed’ criteria are denied admission to a hospital as an ‘inpatient’” (emphasis added)).

        4. Deceased Medicare Beneficiaries Lack Standing Because Their Alleged Injuries
           Would Not Be Redressed by the Injunctive Relief Sought.

        Fourth, deceased Medicare beneficiaries lack standing because they do not face the risk of a

future hospitalization and thus lack any actual or imminent injury that likely would be redressed by

the prospective injunctive relief sought—i.e., a process by which a Medicare beneficiary could seek

administrative review of a decision by a physician or hospital to designate him or her as an outpatient

receiving observation services. In its previous ruling, the Court concluded that Plaintiffs who passed

away before the litigation began had standing, and that the claims of Plaintiffs who passed away after

the litigation began were not moot, because “the estate representatives continue to lack administrative

appeal rights.” Alexander v. Cochran, 2017 WL 522944, at *5. However, as noted above, and as alluded

to by the Court during the recent hearing in this case, see 11/26/18 Hr’g Tr. 54:21-55:5, deprivation

of a “procedural right in vacuo” is not sufficient to create an Article III case or controversy; rather, a




the hearings they seek. Plaintiffs’ failure to allege or argue that they would use the process they seek
to show that they meet the criteria that purportedly form the basis for their property interest is
unsurprising, given that Plaintiffs have yet to identify what the relevant commercial screening tool
criteria for inpatient admission purportedly are. See ECF No. 319-1 at 26; ECF No. 353 at 3-4.
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plaintiff also must show that a concrete interest is affected by the deprivation. Summers, 555 U.S. at

496. The injunctive relief sought by the deceased Plaintiffs would not redress any such injury.

        In its earlier ruling, which preceded the Court’s class certification order, the Court also

suggested that the lack of an appeals process “is preventing [the estate representatives] from requesting

and receiving monetary refunds for care that was not covered.” Alexander v. Cochran, 2017 WL 522944,

at *4. However, there is no live claim that the Secretary has unlawfully deprived Plaintiffs of Part A

coverage, or that seeks Part A coverage or reimbursement for Plaintiffs’ hospital or SNF stays. Rather,

the Court found that a class could be certified under Rule 23(b)(2) because Plaintiffs sought a single

injunction “ordering defendant . . . to establish a procedure for administrative review of a decision to place a

Medicare beneficiary on observation status, including the right to expedited review.” Alexander v. Price, 275 F.

Supp. 3d at 327 (ellipses in original) (emphasis added) (quoting ECF No. 1 at 28-29). The Court did

not certify an issues class pursuant to Rule 23(c)(4), and did not certify any class with respect to

Plaintiffs’ other original claims for relief, such as their claim seeking an “injunction” ordering

Defendant “to review all coverage decisions for the named plaintiffs and class members of post-

hospitalization SNF care, to determine whether placement on observation status precluded them from

obtaining Part A coverage of SNF care to which they would have otherwise been entitled, and to

reimburse them for any amounts that they paid for post-hospitalization care.” ECF No. 1 at 30.7 Thus,

it is clear that no such claims for reimbursement remain in the case.8


7
  As that original claim for relief implicitly acknowledges, formal admission as an inpatient would not
have guaranteed that Plaintiffs’ hospital stays or subsequent SNF stays would be covered under
Medicare Part A. Rather, the services would have been covered under Part A only if (1) the provider
timely billed the services to Medicare under Part A, 42 C.F.R. § 424.30 et seq.; see also 78 Fed. Reg. at
50928-30; and (2) the services were determined to be medically reasonable and necessary, 42 U.S.C.
§ 1395y(a)(1)(A); see also 42 C.F.R. § 411.15(k), and to meet all other regulatory requirements for Part
A coverage, see 42 C.F.R. § 412.3; id. § 409.30 et seq.
8
  Nor could such claims remain in the case: a due process claim seeking compensation for amounts
Plaintiffs allegedly paid as a result of being deprived of formal inpatient admission is a claim for
individualized money damages, which is a type of claim for which the United States has not waived
                                                      15
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        Because the named Plaintiffs face no prospect of ever again being deprived of inpatient

admission, they cannot benefit from prospective relief. Nor could their estate representatives benefit

from such relief. Ordering the Secretary to create a process whereby Medicare beneficiaries could seek

review of their observation designations simply would not affect the rights of individuals whose

observation stays have long since ended, and who have no prospect of being hospitalized for

observation again. Cf. Blum v. Yaretsky, 457 U.S. 991, 1001 (holding that plaintiff Medicaid patients

lacked standing to challenge the procedures attending transfers to higher levels of care because, inter

alia, the threat of them facing such transfers was not “of sufficient immediacy and reality” (quoting

Golden v. Zwickler, 394 U.S. 103, 108 (1969)).

        II.     Plaintiffs’ Claims Are Moot.

        Even if Plaintiffs could have demonstrated standing at the outset of the case, their claims are

now moot. “In order to satisfy the case-or-controversy requirement [of Article III], a party must, at

all stages of the litigation, have an actual injury which is likely to be redressed by a favorable judicial

decision.” United States v. Williams, 475 F.3d 468, 478-79 (2d Cir. 2007) (citation omitted). “A case that

becomes moot at any point during the proceedings is no longer a ‘Case’ or ‘Controversy’ for purposes

of Article III, and is outside the jurisdiction of the federal courts.” United States v. Sanchez-Gomez, 138

S. Ct. 1532, 1537 (2018) (citation omitted). “The hallmark of a moot case or controversy is that the

relief sought can no longer be given or is no longer needed.” Martin-Trigona v. Shiff, 702 F.2d 380, 386

(2d Cir. 1983). A claim should be dismissed as moot when, as a result of changed circumstances, “the



sovereign immunity, see, e.g., Dep’t of Army v. FLRA, 56 F.3d 273, 276 (D.C. Cir. 1995) (claim seeking
reimbursement is a claim for “money damages”); McKoy v. Spencer, 271 F. Supp. 3d 25, 32 (D.D.C.
2017) (“The APA’s waiver of sovereign immunity only applies to Plaintiff’s First and Fifth
Amendment claims to the extent Plaintiff seeks relief ‘other than money damages.’”), as well as a claim
that would be outside the scope of Fed. R. Civ. P. 23(b)(2), see Dukes, 564 U.S. at 360-61 (“Rule 23(b)(2)
. . . . does not authorize class certification when each class member would be entitled to an
individualized award of monetary damages.”).

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parties have no ‘legally cognizable interest’ or practical ‘personal stake’ in the dispute, and the court is

therefore incapable of granting a judgment that will affect the legal rights as between the parties.”

ABN Amro Verzekeringen BV v. Geologistics Americas, Inc., 485 F.3d 85, 94 (2d Cir. 2007).

        In this case, all of the named Plaintiffs’ claims are now moot, for one or more reasons.

            A. The Original and First Intervenor Plaintiffs’ Claims Are Moot.

        The original and First Intervenor Plaintiffs allege only past injuries, and, in the absence of a

current protected property interest, there is no evidence of any ongoing constitutional violation or

likelihood of any future violations of their rights. “The sole function of an action for injunction is to

forestall future violations.” United States v. Oregon State Med. Soc., 343 U.S. 326, 333 (1952); accord SEC

v. Culpepper, 270 F.2d 241, 250 (2d Cir. 1959). Thus, where an alleged violation of the law has ended,

there will be a continued case or controversy as to a claim for injunctive relief only if “there exists

some cognizable danger of recurrent violation, something more than the mere possibility which serves

to keep the case alive.” United States v. W. T. Grant Co., 345 U.S. 629, 633 (1953); accord Borg-Warner

Corp. v. FTC, 746 F.2d 108, 110 (2d Cir. 1984). As the Supreme Court has explained, “[p]ast exposure

to illegal conduct does not in itself show a present case or controversy” with respect to a claim for

injunctive relief unless the past harm is accompanied by “‘continuing, present adverse effects’” that

would be redressed by the injunctive relief sought. City of Los Angeles v. Lyons, 461 U.S. 95, 102 (1983)

(quoting O’Shea v. Littleton, 414 U.S. 488, 495-96 (1974)).

        Here, Plaintiffs’ due process claim is premised on the existence of a protected property interest

in inpatient admission. As set forth in Defendant’s supplemental memorandum in support of its

second motion for summary judgment, the undisputed facts establish that there is no protected

property interest in inpatient admission arising from the Two-Midnight Rule. Because Plaintiffs

contend that the current applicable “standard” for formal inpatient admission is the Two-Midnight

Rule, see ECF No. 360 at 6 n.2, and do not contend (let alone identify any evidence) that Medicare

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beneficiaries currently are entitled to be admitted as inpatients if they meet or pass a commercial

screening tool’s criteria, see, e.g., 11/26/18 Hr’g Tr. 66:11-18, 67:11-4, there is no danger that the alleged

absence of particular procedures for review of inpatient admission decisions will violate their due

process rights.

        In other words, because the undisputed facts establish that, even if there were once a protected

property interest in inpatient admission based on commercial screening tool criteria, the original and

First Intervenor Plaintiffs (and any class members they might represent) no longer have such an

interest, and because the hospitalizations during which they were denied “inpatient status” concluded

long ago, their claims are disconnected from any current or continuing violation of the law. See, e.g.,

Burns v. PA Dep’t of Corr., 544 F.3d 279, 284 (3d Cir. 2008) (explaining that “a procedural due process

violation is complete at the moment an individual is deprived of a liberty or property interest without

being afforded the requisite process”). They therefore have no “personal stake” or legally cognizable

interest in whether the Secretary currently offers, or in the future will offer, an administrative process

to challenge denials of inpatient admission. ABN Amro Verzekeringen BV, 485 F.3d at 94. Accordingly,

their claims for injunctive relief (which are the only remaining claims) are moot. Cf. Granite State Outdoor

Advert., Inc. v. Town of Orange, Connecticut, 303 F.3d 450, 451-52 (2d Cir. 2002) (where Town had

“completely revised its regulations through proper procedures” and there was “no reason to think that

. . . the Town ha[d] any intention of returning to the prior regulatory regime,” finding no basis to

conclude that current regulations were unconstitutional, and that claim for injunctive relief was moot).

            B. The Claims of Plaintiffs Who Passed Away After the Litigation Commenced
               Are Moot.

        All of the named Plaintiffs are now deceased. See ECF No. 1 ¶¶ 61, 66, 72, 83, 89; ECF No.

80; ECF No. 84; ECF No. 140; ECF No. 192; ECF No. 195; ECF No. 224; ECF No. 227; ECF No.

298. As explained above, see supra Part I.B.4, neither deceased Plaintiffs nor their estate representatives

could possibly benefit from the injunctive relief sought in this case. Accordingly, the claims of
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Plaintiffs who have passed away since the commencement of the litigation are moot. See ABN Amro

Verzekeringen BV, 485 F.3d at 94.

           C. The Claims of Plaintiffs Who Have Obtained “Full Refunds” Are Moot.

       The Court previously held that the claims of named Plaintiffs who had obtained “full refunds”

were not moot based on the “inherently transitory” exception to the mootness doctrine. Alexander v.

Cochran, 2017 WL522944, at *5. However, that exception only applies to a putative class action if “(1)

it is uncertain that a claim will remain live for any individual who could be named as a plaintiff long

enough for a court to certify the class; and (2) there will be a constant class of persons suffering the

deprivation complained of in the complaint.” Salazar v. King, 822 F.3d 61, 73 (2d Cir. 2016). If there

is no current protected property interest in inpatient admission, Plaintiffs cannot show that there is a

constant class of persons suffering the deprivation alleged in the complaint. Because Plaintiffs do not

contend, and have adduced no evidence, that the current criterion for inpatient admission is “meeting

or passing a commercial screening tool’s criteria,” and because the Two-Midnight Rule does not give

rise to a protected property interest in inpatient admission, see Suppl. Mem. of Law in Supp. of Def.’s

Second Mot. For Summary J. at 8-11, there clearly is not a “constant class of persons suffering the

deprivation complained of in the complaint,” Salazar, 822 F.3d at 73, and the “inherently transitory”

exception cannot apply. Accordingly, the claims of named Plaintiffs Barrows, Renshaw, Morse, and

Goodman are moot because they already received favorable decisions through the Medicare

administrative review process, which redressed the only concrete injury they might plausibly allege. See

ECF Nos. 68-1, 22-1, 83-2, 65-3; ECF No. 166, at 4 n.1; see generally ECF No. 194 at 6 & n.5.

                                          CONCLUSION

       For the foregoing reasons, the Court should dismiss the case for lack of subject matter

jurisdiction pursuant to Rule 12(h)(3) of the Federal Rules of Civil Procedure.




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Dated: January 30, 2019             Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on January 30, 2019, I will electronically file the foregoing with

the Clerk of Court using the CM/ECF system, which will send a notification of electronic filing to the

parties.


                                               /s/ Elizabeth Tulis
                                               ELIZABETH TULIS
